Case 1:22-cv-05134-MLB Document 47-2 Filed 06/24/25 Page1of4

EXHIBIT B
Case 1:22-cv-05134-MLB Document 47-2

Filed 06/24/25

Page 2 of 4

Judge Assigned:
OTN:

Arresting Agency:
Citation No.:

Disposition:
County:

Case Status:

Case Status
Closed

Case Calendar
Event Type
Summary Trial

Name:
Date of Birth:
Address(es):

Home
Hummelstown, PA 17036

Participant Type
Defendant
Arresting Officer

Dominic Pelino

Derry Township Police Dept

E 0036121-1
Guilty
Dauphin
Closed

Status Date

10/14/2024
10/14/2024
09/12/2024
09/12/2024
09/12/2024
07/31/2024
07/22/2024

Schedule
Start Date

09/12/2024

Commissiong, Gerald Eustan

04/06/1982

CASE INFORMATION
Issue Date: 07/22/2024
File Date: 07/22/2024
Arrest Date:
{Incident No.: P20240133860
Disposition Date: 09/12/2024
Township: Derry Township
STATUS INFORMATION
Processing Status
Completed
Case Balance Due
Case Balance Due
Case Disposed/Penalty Imposed
Awaiting Sentencing
Awaiting Summary Trial
Awaiting Plea
CALENDAR EVENTS
Start Time Room Judge Name
10:40 am VIRTUAL HEARINGS Dominic Pelino
DEFENDANT INFORMATION
Sex: Male
Race: Black
CASE PARTICIPANTS
Participant Name
Commissiong, Gerald Eustan
Shea, Timothy C.
CHARGES
Grade Description Offense Dt.
Duties At Stop Sign 07/22/2024

s

Magisterial District Judge 12-3-04

DOCKET

Docket Number: MJ-12304-TR-0002001-2024

Commonwealth of Pennsylvania
v.
Gerald Eustan Commissiong

Traffic Docket

Page 1 of 2

Schedule
Status

Scheduled

Disposition

Guilty

MDJS 1200

Printed: 12/24/2024 1:37 pm

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Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assumes any liability for inaccurate or delayed data , errors or omissions
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Pennsylvania State Police. Employers who do not comply with the provisions of the Criminal History Record Information Act (18 Pa.C.S. Section 9101 et seq.)
may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.

Case 1:22-cv-05134-MLB Document 47-2 Filed 06/24/25 Page3of4

Magisterial District Judge 12-3-04

DOCKET
Docket Number: MJ-12304-TR-0002001-2024

Traffic Docket

Commonwealth of Pennsylvania
V.
Gerald Eustan Commissiong

Page 2 of 2
DISPOSITION / SENTENCING DETAILS
Case Disposition Disposition Dat Was Defendant Present?
Guilty 09/12/2024 No
Offense Seqg,/Description Offense Disposition
1 Duties At Stop Sign Guilty
DOCKET ENTRY INFORMATION

Filed Date Entry Filer Applies To

09/12/2024 Guilty Dominic Pelina — _ Gerald Eustan | Commissiong, Defendant
07/22/2024 Traffic Citation Filed Magisterial District Court 12-3-04 oe __

CASE FINANCIAL INFORMATION
Case Balance: $0.00 Next Payment Amt:
Last Payment Amt: Next Paymen te:
Non-Monetary
Assessment Amt Adjustment Amt Payment Amt Payment Amt Balance

ATJ $4.00 $0.00 $0.00 ($4.00) $0.00
CAT/MCARE/General Fund $45.00 $0.00 $0.00 ($45.00) $0.00
Commonwealth Cost - HB627 (Act 167 of 1992) $10.80 $0.00 $0.00 ($10.80) $0.00
County Court Cost (Act 204 of 1976) $26.90 $0.00 $0.00 ($26.90) $0.00
Emergency Medical Services (Act 45 of 1985) $20.00 $0.00 $0.00 ($20.00) $0.00
JCPS $21.25 $0.00 $0.00 ($21.25) $0.00
Judicial Computer Project $8.00 $0.00 $0.00 ($8.00) $0.00
State Court Costs (Act 204 of 1976) $10.80 $0.00 $0.00 ($10.80) $0.00
Title 75, Motor Vehicle (Motor License Fund) $25.00 $0.00 $0.00 ($25.00) $0.00
Motor Vehicle Case Hearing Cost $10.00 $0.00 $0.00 ($10.00) $0.00
MDJS 1200 Page 2 of 2 Printed: 12/24/2024 1:37 pm

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Case 1:22-cv-05134-MLB Document 47-2 Filed 06/24/25 Page4of4
